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                             UNITED STATES DISTRICT COURT
  7
                           CENTRAL DISTRICT OF CALIFORNIA
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 10    LEONARDO MAGALLON,                           Case No. 2:21-cv-1540-VAP (MAR)
 11                               Plaintiff,
 12                         v.                      JUDGMENT
 13    BUREAU OF PRISONS, ET AL.,
 14                               Defendant(s).
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 16
            Pursuant to the Order Dismissing Case, IT IS HEREBY ADJUDGED that
 17
      this action is dismissed without prejudice.
 18
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      Dated: December 1, 2021
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 21
                                               HONORABLE VIRGINIA A. PHILLIPS
 22
                                               United States District Judge
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